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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION


Alliance for Hippocratic Medicine, et al.,

                              Plaintiffs,

       v.                                    Case No. 2:22-cv-00223-Z

U.S. Food and Drug Administration, et al.,

                              Defendants.

       Defendants’ Opposition To Plaintiffs’ Motion For A Preliminary Injunction

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                                          INTRODUCTION

       More than twenty-two years ago, the U.S. Food and Drug Administration (FDA) approved

the drug mifepristone as safe and effective for the medical termination of intrauterine pregnancy

under certain conditions. In this unprecedented action, Plaintiffs ask this Court to upend that

longstanding scientific determination based on speculative allegations of harm offered in support

of claims and arguments that are untimely, unexhausted, and without merit. Plaintiffs’ motion for

a preliminary injunction satisfies none of the requirements for the extraordinary relief they seek

and should be denied.

       Plaintiffs have not shown any likelihood of success on the merits. Their lawsuit relies on

speculation to assert novel claims of injury that are not cognizable under Article III and that place

Plaintiffs well outside the zone of interests protected by any relevant statute. Plaintiffs are

attempting to challenge agency action long after the limitations period has expired and raising

claims they did not exhaust with FDA. The only merits issues that possibly could be heard by this

Court are those that Plaintiffs presented to FDA in a 2019 citizen petition. That petition challenged

particular changes to the conditions of use and restrictions on the distribution of mifepristone. In

responding to the 2019 petition, FDA reasonably rejected Plaintiffs’ arguments.

       Plaintiffs also fail to show that they will suffer imminent and irreparable harm without a

preliminary injunction. Plaintiffs’ speculative assertions of injury—made months and even

decades after the agency actions they challenge—are unsupported by any evidence that Plaintiffs

will be harmed by the availability of mifepristone absent an injunction. In contrast, issuance of a

preliminary injunction would cause significant harm, depriving patients of a safe and effective

drug that has been on the market for more than two decades. Entry of a preliminary injunction here

would hardly serve the typical purpose of such relief—maintaining the status quo during the
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pendency of litigation. Rather, it would upend the status quo and the reliance interests of patients

and doctors who depend on mifepristone, as well as businesses involved with mifepristone

distribution. The balance of the equities and the public interest thus also strongly favor denial of

Plaintiffs’ motion.

                                          BACKGROUND

   I.      Statutory and Regulatory Background

        Congress has entrusted to FDA the responsibility to ensure that “new drugs” are safe and

effective. See 21 U.S.C. §§ 321(p), 355; see also id. § 393(b)(2)(B). The Federal Food, Drug, and

Cosmetic Act (FDCA) generally prohibits the interstate distribution of new drugs that have not

received FDA approval. Id. § 355(a). In deciding whether to approve a new drug, FDA evaluates

whether a new drug application contains scientific evidence demonstrating that the drug is safe

and effective for its intended uses. Id. § 355(d); see also 21 C.F.R. §§ 314.50, 314.105(c).

Similarly, when a sponsor submits a supplemental new drug application proposing changes to the

conditions of approval for a drug (such as changes to a drug’s labeling or FDA-imposed

restrictions), FDA reviews the scientific evidence to support the changes. See 21 C.F.R. § 314.70.

To approve a generic version of a previously approved drug, FDA reviews whether an abbreviated

new drug application contains information to show that the proposed generic drug is materially the

“same” as the approved drug. 21 U.S.C. § 355(j)(2).

        In furtherance of its statutory responsibilities, including the responsibility to determine

whether to approve drugs as safe and effective for intended uses, FDA issued regulations in 1992

to authorize the imposition of conditions “needed to assure safe use” of certain new drugs that

otherwise satisfy the requirements of the FDCA. Final Rule, 57 Fed. Reg. 58,942, 58,958 (Dec.

11, 1992) (codified at 21 C.F.R. § 314.520). The regulations, known as Subpart H, apply to certain

new drugs “studied for their safety and effectiveness in treating serious or life-threatening


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illnesses” that “provide meaningful therapeutic benefit to patients over existing treatments.” 21

C.F.R. § 314.500.

         In 2007, Congress enacted the Food and Drug Administration Amendments Act of 2007

(FDAAA), which (among other things) gave FDA authority to require a “risk evaluation and

mitigation strategy” (REMS) when it determines that such a strategy is necessary to ensure that

the benefits of a drug outweigh the risks. See Pub. L. No. 110-85, tit. IX, § 901 (codified at, inter

alia, 21 U.S.C. § 355-1). This new authority codified and expanded FDA’s Subpart H authority to

impose restrictions on a manufacturer’s distribution of a drug to assure safe use. Under the REMS

framework, for certain drugs, FDA may include what are known as “elements to assure safe use,”

such as a requirement that a drug’s prescribers have particular training or experience, that a drug

be dispensed only in certain healthcare settings, or that a drug be dispensed only after

documentation of safe use conditions is provided. 21 U.S.C. § 355-1(f)(3).

         Congress expressly addressed in FDAAA how to incorporate drugs with existing Subpart

H restrictions into the new REMS framework. See Pub. L. No. 110-85, tit. IX, § 909 (21 U.S.C.

§ 331 note). Congress “deemed” such drugs to have a REMS in effect upon the effective date of

FDAAA, with the REMS imposing the restrictions previously imposed under Subpart H. Id.

§ 909(b). Congress provided that any such restrictions would continue to be required under the

new statutory regime unless and until FDA determined that modifications were necessary. Id.; see

id. § 355-1(g)(4)(B), (h) (authorizing FDA to require the sponsor to propose modifications to a

drug’s REMS). Since the effective date of Title IX of FDAAA, authority that FDA had asserted

under the relevant portions of Subpart H has thus rested on the REMS provisions of FDAAA.

   II.      Factual and Procedural Background

         A. FDA Actions Involving Mifepristone

         FDA approved the marketing of mifepristone under the brand name Mifeprex in 2000. In


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so doing, the agency determined, as to a particular manufacturer’s application, that mifepristone is

safe and effective for the medical termination of intrauterine pregnancy through 49 days gestation

when used in a regimen with an already-approved drug, misoprostol. After following the approved

regimen, the patient is expected to experience cramping and bleeding while the contents of the

uterus are expelled, similar to a miscarriage. FDA extensively reviewed the scientific evidence and

determined that the benefits of mifepristone outweigh any risks. Dkt. No. 8 (App.) 518-25.

         When FDA originally approved Mifeprex, the agency relied upon Subpart H to place

certain restrictions on the manufacturer’s distribution of the drug product to assure its safe use.1

For example, FDA imposed an in-person dispensing requirement and permitted the drug to be

distributed only to prescribers who agreed to dispense it in certain healthcare settings, by or under

the supervision of a qualified physician who attested to the ability to accurately date pregnancies

and diagnose ectopic pregnancies. App. 523.

         These “restrictions to assure safe use” (21 C.F.R. § 314.520) were in effect on the effective

date of FDAAA. Accordingly, pursuant to FDAAA, mifepristone was “deemed to have in effect

an approved [REMS]” that continued these restrictions. Pub. L. No. 110-85, § 909(b)(1); see also

73 Fed. Reg. 16,313 (Mar. 27, 2008); App. 598-602. FDA subsequently granted express approval

to the mifepristone REMS after determining that it remained “necessary … to ensure the benefits

of [mifepristone] outweigh the risks of serious complications.” App. 599.

         Later, on March 29, 2016, FDA approved a supplemental new drug application from the

sponsor to alter Mifeprex’s indication, labeling, and REMS. App. 616. Relying on safety and

efficacy data from multiple studies, FDA increased the gestational age limit from 49 to 70 days.


     1
       The Subpart H regulations are referred to as FDA’s “accelerated approval” regulations.
However, FDA’s 2000 approval of mifepristone, which occurred more than four years after the
new drug application was submitted to the agency, did not involve an “accelerated review,”
contrary to Plaintiffs’ implication. Compare Dkt. No. 7 (Mot.) 14, with App. 527-29.


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App. 631. FDA also reduced the number of required in-person clinic visits to one. The agency

determined that at-home administration of misoprostol is safe because multiple studies showed

that administration of the drug was “associated with exceedingly low rates of serious adverse

events” and because administering misoprostol at home would more likely result in patients being

in an “appropriate and safe location” when the cramping and bleeding caused by the drug would

begin. App. 640. FDA also found no significant difference in outcomes based on whether patients

had follow-up appointments via phone call or in-person or based on the timing of those

appointments. App. 641. Additionally, FDA allowed a broader set of healthcare providers, rather

than only physicians, to prescribe mifepristone, finding no serious risk to patients from expanding

the types of healthcare providers who could become certified under the REMS. App. 641-42.

         In 2019, FDA approved a different manufacturer’s abbreviated new drug application for a

generic version of mifepristone. App. 694-700. That decision did not in any way reevaluate the

safety and efficacy of mifepristone. Instead, FDA’s approval of the generic drug was based solely

on FDA’s determination that the generic drug was materially the “same” as brand-name Mifeprex.

21 U.S.C. § 355(j)(2). When it approved the abbreviated new drug application, FDA also approved

the Mifepristone REMS Program, which covers both Mifeprex and the generic. App. 703.2

         In April 2021, FDA decided to exercise enforcement discretion during the public health

emergency with respect to the in-person dispensing requirement. App. 713-15. That decision

stemmed from the finding that the availability of mifepristone by mail during a six-month period

in which the in-person dispensing requirement had been enjoined, see Am. Coll. of Obstetricians



     2
       For avoidance of doubt, this brief uses “mifepristone” to refer to drug products that are
approved for medical termination of early pregnancy, in both branded and generic form. FDA has
separately approved another manufacturer’s distribution of the brand name drug Korlym, which
uses mifepristone in the treatment of Cushing’s syndrome. Defendants do not understand
Plaintiffs’ claims to seek any relief with respect to that separate drug approval.


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& Gynecologists v. FDA, 472 F. Supp. 3d 183 (D. Md. 2020), stayed by FDA v. Am. Coll. of

Obstetricians & Gynecologists, 141 S. Ct. 578, 578 (2021) (mem.), did not appear to show

increases in serious safety concerns, according to the literature. App. 713-15.

         On January 3, 2023, FDA approved a supplemental application, modifying the REMS by,

inter alia, removing the in-person dispensing requirement.3

         B. Plaintiffs’ Citizen Petitions

         Before asking a court to invalidate FDA’s approval of a drug application, a plaintiff must

first file a citizen petition raising its arguments to the agency. See 21 C.F.R. § 10.45(b); see also

21 U.S.C. § 355(e) (setting forth requirements for withdrawal of a drug approval). In 2002,

Plaintiffs American Association of Pro-Life Obstetricians and Gynecologists (“AAPLOG”) and

the Christian Medical Association (“CMA”) submitted a citizen petition asking FDA to withdraw

the 2000 approval of mifepristone. App. 281-375. FDA denied the petition on March 29, 2016.

App. 562-94. FDA addressed the petitioners’ arguments and rejected them based on studies and

other scientific evidence (including evidence postdating the 2000 approval) that continued to

demonstrate that mifepristone was safe and effective for its indicated uses. App. 568-574, 578-89.

FDA also rejected petitioners’ challenge to the appropriateness of FDA’s earlier reliance on

Subpart H, explaining that mifepristone satisfied the regulatory prerequisites because it provides a

meaningful therapeutic benefit to some patients experiencing a life-threatening condition (because

pregnancy can be a serious medical condition for at least some women). App. 565-66.

         In 2019, Plaintiffs AAPLOG and American College of Pediatricians (“ACP”) submitted

another citizen petition, this time challenging several aspects of the 2016 changes to the conditions

of approval, including the REMS. App. 668-69, 672, 679. The 2019 petition did not ask FDA to


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      Plaintiffs do not challenge the 2023 action in this case, but they seek to enjoin all of FDA’s
approvals of mifepristone, which would, practically, render FDA’s recent action inoperative.


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withdraw approval of mifepristone. App. 688-93. Rather, it asked FDA to “[r]etain” the REMS

and its in-person dispensing requirement, and to “restore and strengthen elements of the

[mifepristone] regimen and prescriber requirements approved in 2000” to: (1) limit mifepristone’s

use to 49 days gestation; (2) require the drug to be administered by or under the supervision of a

physically present and certified physician who has ruled out ectopic pregnancy; (3) require three

office visits; (4) include a contraindication for patients who do not have convenient access to

emergency medical care; (5) require reporting of certain adverse events to FDA; and (6) require

additional studies. App. 668-69.

       On December 16, 2021, FDA responded to each of petitioners’ arguments. App. 729-69.

FDA “agree[d]” that, based on the data available at that time, certain of the REMS requirements

“continue[d] to be necessary components” of safe distribution of mifepristone. App. 750-51. But

FDA declined to make the changes that petitioners had requested. Indeed, FDA determined that

the REMS “must be modified to remove” the in-person dispensing requirement because, based on

FDA’s review of, among other things, the REMS assessment data, postmarketing safety

information, and the published literature, the requirement was no longer necessary to ensure the

benefits of the drug outweigh the risks and removing it would reduce the burden on the healthcare

delivery system. App. 750-64.

       C. This Litigation

       On November 18, 2022, Plaintiffs filed their complaint, challenging FDA’s approval of

mifepristone in 2000; FDA’s approval of the supplemental new drug application and related

changes to the conditions of approval, including the REMS, in 2016; and FDA’s denial of the

citizen petitions in 2016 and 2021. The complaint also challenges FDA’s approval of the generic

version of mifepristone in 2019 and FDA’s decision in 2021 to exercise its discretion not to enforce

the in-person dispensing requirement during the public health emergency. Plaintiffs’ claims all


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arise under the Administrative Procedure Act. Plaintiffs now seek a preliminary injunction on four

grounds and ask this Court, among other things, to order Defendants “to withdraw or suspend all

of [the] approvals of chemical abortion drugs.” Mot. 7.

                                        LEGAL STANDARD

       “A preliminary injunction is an extraordinary remedy that should only issue if the movant

shows: (1) a substantial likelihood of success on the merits; (2) a substantial threat of irreparable

injury if the injunction is not granted; (3) the threatened injury will outweigh any harm that will

result to [a] non-movant if the injunction is granted; and (4) the injunction will not disserve the

public interest.” Ridgely v. FEMA, 512 F.3d 727, 734 (5th Cir. 2008); see also Ladd v. Livingston,

77 F.3d 286, 288 (5th Cir. 2015). The third and fourth factors merge when the government is the

party opposing the motion. Nken v. Holder, 556 U.S. 418, 435 (2009). A preliminary injunction

“should not be granted unless the movant has clearly carried the burden of persuasion on all four

requirements.” Dennis Melancon, Inc. v. City of New Orleans, 703 F.3d 262, 268 (5th Cir. 2012)

(quotation marks and citation omitted); Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22

(2008) (requiring a “clear showing”). “[I]f the [p]laintiff fails to satisfy even one” element, “the

Court may logically conclude that [the] [p]laintiff fails to meet its burden—regardless of success

on the other elements.” Mayo Found. for Med. Educ. & Rsch. v. BP Am. Prod. Co., 447 F. Supp.

3d 522, 528 (N.D. Tex. 2020) (Kacsmaryk, J.).

                                            ARGUMENT

   I. Plaintiffs’ Claims Are Unlikely To Succeed On The Merits

       Plaintiffs have not shown a likelihood of success as to any of their claims.

       A. Plaintiffs Lack Standing and Are Outside the Zone of Interests

       Plaintiffs lack standing to bring any of their claims. To meet the “irreducible constitutional

minimum of standing,” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992), Plaintiffs “must show


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(i) that [they] suffered an injury in fact that is concrete, particularized, and actual or imminent;

(ii) that the injury was likely caused by the defendant[s]; and (iii) that the injury would likely be

redressed by judicial relief,” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). An

“injury-in-fact” must be “actual” or “certainly impending,” Clapper v. Amnesty Int’l USA, 568

U.S. 398, 409 (2013), not “conjectural” or “hypothetical,” Lujan, 504 U.S. at 560. “‘[A]llegations

of possible future injury’ are not sufficient.” Clapper, 568 U.S. at 409 (quoting Lujan, 504 U.S. at

565 n.2). To satisfy the causation requirement, Plaintiffs must also show that their alleged injuries

are “fairly traceable to the challenged action of the defendant, and not the result of the independent

action of some third party not before the court.” Lujan, 504 U.S. at 560. In addition to the

requirements of Article III, plaintiffs challenging the actions of federal agencies must demonstrate

that they are within the “zone of interests” protected or regulated by the statute in question. Clarke

v. Sec. Indus. Ass’n, 479 U.S. 388, 395-96 (1987).

           1. Plaintiff Physicians Lack Article III Standing

       None of the individual Plaintiffs or the organizational Plaintiffs’ physician members

(collectively, the “complaining physicians”) has established an injury-in-fact necessary to satisfy

Article III. The complaining physicians are not themselves regulated by FDA, and they do not

purport to prescribe mifepristone. See Grocery Mfrs. Ass’n v. EPA, 693 F.3d 169, 177 (D.C. Cir.

2012) (explaining that fuel manufacturers lacked standing to challenge EPA approval of a fuel

they were not required to distribute). Rather, they contend that they will be injured—in a highly

roundabout fashion—because other physicians will prescribe mifepristone to patients who will

experience adverse events; those patients will seek care from a complaining physician; and the

complaining physician will divert time and resources from other patients, subjecting them to

“potential liability” exposure and insurance costs, and potentially causing them to suffer grief,

distress, and guilt. Mot. 9-10. Plaintiffs also argue that FDA’s actions prevent them from practicing


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evidence-based medicine, harm the doctor-patient relationship, and deprive them of the

opportunity to provide pregnancy care. Mot. 10.

          Plaintiffs’ allegations of injury to the complaining physicians fail because they depend

upon layer after layer of speculation. They require Plaintiffs to establish that, despite the rarity of

serious adverse events associated with mifepristone,4 individuals who are prescribed mifepristone

elsewhere will seek out the care of a complaining physician. Those patients then must cause

disproportionate burdens, forcing the physician to neglect other patients and somehow exposing

the complaining physician to new risks—perhaps because the hypothetical mifepristone users who

seek out the complaining physicians after receiving mifepristone from other physicians will entrap

their emergency physicians by providing an incomplete medical history and will then sue them for

malpractice. See, e.g., App. 865-67, 871-74, 880.

          The speculative nature of these claims is self-evident. Courts have consistently rejected

such theories of standing based on multi-tiered speculation because they “depend[] on the

unfettered choices made by independent actors not before the courts and whose exercise of broad

and legitimate discretion the courts cannot presume either to control or to predict.” Lujan, 504 U.S.

at 562 (quoting ASARCO Inc. v. Kadish, 490 U.S. 605, 615 (1989)); see, e.g., Clapper, 568 U.S.

at 414 (“speculative chain of possibilities” does not establish impending constitutional injury and

declining to “endorse standing theories that rest on speculation about the decisions of independent

actors”); Little v. KPMG LLC, 575 F.3d 533, 541 (5th Cir. 2009) (injury based on several layers

of decisions by third parties too speculative to confer Article III standing).

          Here, Plaintiffs do not even attempt to allege facts supporting the chain of causation. They

do not corroborate any of the pecuniary harms that they purport to fear, nor any of the intangible



     4
         See Katzen Decl., Ex. 1D, at 8, https://perma.cc/2UJ5-8WVF.


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concerns that they raise. That omission is particularly telling given the more than two decades that

mifepristone has been in use. If Plaintiffs’ injuries had an evidentiary basis, then Plaintiffs would

be able to marshal allegations grounded in fact rather than conjecture.

         For example, Plaintiffs contend that treating patients who experience complications from

mifepristone might cause the complaining physicians to divert time and resources from other

patients. Mot. 9. Plaintiffs fail to acknowledge that the alternatives to mifepristone—surgical

abortion or continued pregnancy—also have rates of complications, with childbirth’s being

substantially higher than mifepristone’s. App. 565 n.6 (“The risk of childbirth related death was

therefore approximately 14 times higher than the rate associated with legal abortion.”). Even if it

were appropriate to focus only on mifepristone, Plaintiffs make allegations only to support the

isolated existence of adverse events5—but nothing that would remotely support Plaintiffs’

sweeping and speculative assertion that adverse events from use of mifepristone will “overwhelm

the medical system” and their medical practices in particular (Mot. 9). The declarations nowhere

allege facts plausibly showing that such one-off incidents interfere with Plaintiffs’ practices or

with the treatment of other patients. Contra Ex. 5 (Zite Decl.) ¶¶ 10-14.

         Plaintiffs’ other assertions of injury to individual physicians are likewise based on a series

of speculative contingencies. They contend that they will face increased liability exposure and

insurance costs from treating patients who experience complications from mifepristone (see, e.g.,

App. 873), but no Plaintiff or declarant claims to have been sued, threatened with a lawsuit, or

required to pay increased insurance premiums. Moreover, Plaintiffs’ own explanation for how they



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       See, e.g., App. 193-94 ¶¶ 2, 10 (Dr. Francis, who has worked at a hospital “for the last six
years,” but identifies only “several women” who have “present[ed] with complications”);
App. 216 ¶ 23 (Dr. Wozniak, one patient over the last six months); App. 880 ¶ 16 (Dr. Delgado,
who “expect[s] to see and treat more patients … with complications,” but does not identify any
past example); App. 886 ¶ 17 (Dr. Jester, citing a purported complication from a medical abortion).


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might suffer this purely hypothetical injury depends on speculation about actions of third parties

not traceable to FDA, i.e., patients who will not accurately report their medical history—again,

citing no concrete evidence in support. See App. 89-90. Plaintiffs also express fear that treating

hypothetical future patients will cause them distress, grief, or guilt in the unlikely event that they

were somehow “force[d]” to “complete an unfinished elective abortion.” App. 160-61, Mot. 9. But

no complaining physician alleges that he or she has ever been forced to “complete an unfinished

elective abortion,” nor do Plaintiffs provide any evidence that such injury is likely, much less

imminent. Indeed, their own statements confirm that their fears of having to assist in an abortion

resulting from mifepristone complications are based on speculation alone. See, e.g., App. 160-61

(“FDA’s removal of safeguards could force CMA members … to complete an unfinished elective

abortion”) (emphasis added).

         Plaintiffs assert that patients’ ability to choose medication abortion deprives them of the

“opportunity to provide professional services and care for the woman and child through

pregnancy.” App. 87, 90. But this assumes—without evidence—that patients seeking medication

abortion from a different provider would, in the absence of mifepristone, switch to a complaining

physician’s practice and opt to carry their pregnancies to term. Compare Zite Decl. ¶ 11; Ex. 2

(Lindo Decl.) ¶¶ 47-48 (explaining that, if mifepristone becomes unavailable, individuals

prevented from obtaining medication abortions from healthcare providers will seek out surgical

abortions or else attempt to self-manage their abortions). Plaintiffs also fail to substantiate their

vague assertions that, by not requiring healthcare providers to report non-fatal adverse events,

FDA prevents physicians “from practicing evidence-based medicine” and “harms the doctor-

patient relationship.” Mot. 10.6 Indeed, no Plaintiff or medical association member claims to

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       Plaintiffs do not square their objection to having to spend time reporting adverse events with
their competing objection that FDA no longer requires healthcare providers to report non-fatal


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consult with patients on whether they should take mifepristone.

        Even if Plaintiffs could substantiate their standing theories with nonspeculative allegations,

those allegations must pertain to a judicially cognizable injury—i.e., one that satisfies the

concreteness requirement. Where, as here, a plaintiff claims intangible harm, courts assess whether

the asserted harm “has a close relationship to a harm that has traditionally been regarded as

providing a basis for a lawsuit in English or American courts.” Spokeo, Inc. v. Robins, 578 U.S.

330, 340-41 (2016). Plaintiffs do not cite any decision, from any court, endorsing a physician’s

right to bring suit to advance an interest in evidence-based medicine, or an undefined interest in

the physician-patient relationship, or an interest in avoiding adverse events for their patients, or an

interest in avoiding new business for themselves. Mot. 10.

        Indeed, Plaintiffs’ approach to standing would entitle physicians to sue over virtually any

FDA action. As Plaintiffs’ argument runs, if FDA approved a new heart medication, emergency

physicians would have standing to challenge the approval on the theory that some patients would

experience adverse events under the new treatment; in contrast, cardiologists would have standing

to challenge the approval on the theory that some patients would no longer require their services.

This guaranteed pathway to challenge any government action would not be limited to FDA actions.

Physicians could sue the National Highway Traffic Safety Administration for agency actions that

caused (or prevented) traffic accidents; or pediatricians could sue the U.S. Department of

Agriculture for standards that improved (or imperiled) student nutrition. The breathtaking

consequences for Plaintiffs’ theories of standing, in the absence of historical or statutory support,

is a strong indication that Plaintiffs’ injuries are not judicially cognizable.7


adverse events. Contra App. 82 (“The FDA’s elimination of the requirement for abortionists to
report all adverse events related to chemical abortion leads to unreliable reporting.”).
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       For similar reasons, Plaintiffs cannot claim third-party standing on behalf of their patients.
See Ass’n of Am. Physicians & Surgeons v. FDA, 13 F.4th 531, 547 (6th Cir. 2021) (third-party


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            2. Plaintiff Medical Associations Lack Article III Standing

        The medical associations also lack standing. They argue both that they have associational

standing based on alleged injuries to their members, and that they have organizational standing

because (they allege) FDA’s actions have caused them to divert time and resources and have

frustrated their ability to provide their members, patients, and the public with accurate information.

See Mot. 7-8; OCA-Greater Houston v. Texas, 867 F.3d 604, 610 (5th Cir. 2017). Plaintiffs’ theory

of associational standing fails because, as explained in the preceding section, the medical

associations have not identified any member with a non-speculative and legally cognizable injury-

in-fact. See OCA-Greater Houston, 867 F.3d at 610. The medical associations’ theory of

organizational standing fails because neither their alleged diversion of resources nor their alleged

informational injury satisfies Article III.

        First, Plaintiffs’ allegation that FDA’s actions have forced them to divert resources does

not establish standing because that injury is self-inflicted and unsubstantiated. Plaintiffs “cannot

manufacture standing merely by inflicting harm on themselves based on their fears of hypothetical

future harm that is not certainly impending.” Clapper, 568 U.S. at 416; see also Food & Water

Watch, Inc. v. Vilsack, 808 F.3d 905, 919-20 (D.C. Cir. 2015); La Union del Pueblo Entero v.

Abbott, No. 21-CV-0844, 2022 WL 3052489, at *32 (W.D. Tex. Aug. 2, 2022).

        Plaintiffs say that they have had to divert their resources away from unspecified priorities

in order to “educate and inform their members, their patients, and the public on the dangers of

chemical abortion drugs.” Mot. 7. But in so alleging, Plaintiffs have failed to identify any Article

III injury that their alleged diversion of resources is necessary to avoid. Nor have they sought to


standing “does not relieve plaintiffs of the need to independently establish their own Article III
standing”) (emphasis added). And notwithstanding Plaintiffs’ suggestion, June Medical Services
LLC v. Russo, 140 S. Ct. 2103 (2020), is not to the contrary. There, physicians had Article III
standing to challenge regulations of physician conduct and threats of sanctions. Id. at 2119.


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substantiate how that alleged diversion has impeded their mission, such as by “identif[ying] …

specific projects” harmed by that diversion. N.A.A.C.P. v. City of Kyle, 626 F.3d 233, 238 (5th Cir.

2010); see also Tenth St. Residential Ass’n v. City of Dallas, 968 F.3d 492, 500 (5th Cir. 2020)

(finding no organizational standing because “[c]ritically, [the plaintiff] provided no evidence that

its members were required to forego other projects or causes as a result of” challenged conduct).

         Second, Plaintiffs’ allegations that FDA has “frustrated and complicated” their “ability to

educate and inform their members, their patients, and the public” likewise fail to establish standing.

Plaintiffs cannot claim injury from FDA’s decision not to require broader reporting of adverse

events because they are not statutorily entitled to such information. See U.S. Inventor Inc. v. Vidal,

No. 21-40601, 2022 WL 4595001, at *7 (5th Cir. Sept. 30, 2022) (“An informational injury occurs

if a plaintiff fails to obtain information that must be publicly disclosed pursuant to a statute.”).8

            3. Plaintiffs Are Outside the Zone of Interests

         Plaintiffs also have not demonstrated that they are within the zone of interests of the FDCA

drug approval provisions that they invoke. A plaintiff falls outside the zone of interests when its

“interests are so marginally related to or inconsistent with the purposes implicit in the statute that

it cannot reasonably be assumed that Congress intended to permit the suit.” Clarke, 479 U.S. at

399. Whether Plaintiffs satisfy “the zone-of-interests test is to be determined not by reference to

the overall purpose of the Act in question … but by reference to the particular provision of law

upon which the plaintiff relies.” Bennett v. Spear, 520 U.S. 154, 175-76 (1997).

         While Plaintiffs contend that the “legal and regulatory framework” of the FDCA as a whole


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       In any event, Plaintiffs must demonstrate standing for every claim that they bring. Ortiz v.
Am. Airlines, Inc., 5 F.4th 622, 628 (5th Cir. 2021). At most, Plaintiffs’ contentions that they have
diverted resources to analyze adverse events and have been frustrated in their ability to educate
their members, patients, and the public about adverse events would be relevant to FDA’s decision
to remove the REMS requirement that certified prescribers report non-fatal adverse events. But
Plaintiffs do not assert that decision as a basis for a preliminary injunction.


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protects physicians’ interests, Mot. 10, they identify no particular provision of the FDCA

protecting such interests, and physicians cannot satisfy the zone of interests test by generally

invoking the overall purposes of the FDCA. See, e.g., Ass’n of Am. Physicians & Surgeons, Inc. v.

FDA, 539 F. Supp. 2d 4, 18 (D.D.C. 2008) (holding that physicians were not within the zone of

interests in challenge to FDA approval of supplemental new drug application), aff’d, 358 F. App’x

179 (D.C. Cir. 2009).9

         B. The Vast Majority of Plaintiffs’ Challenges Are Untimely or Unexhausted

            1. All of Plaintiffs’ Claims Are Untimely or Unexhausted, Except Their Narrow
               Challenge to FDA’s 2021 Response to the 2019 Citizen Petition

         All of Plaintiffs’ claims are untimely or unexhausted except their challenge to FDA’s

December 16, 2021, response to the 2019 citizen petition.

         First, there is a six-year statute of limitations to challenge each agency action. See 28 U.S.C.

§ 2401(a). FDA approved the new drug application for mifepristone in 2000. FDA responded to

Plaintiffs’ 2002 citizen petition, which challenged the 2000 approval (see App. 280), on March 29,

2016. Both agency actions occurred more than six years before Plaintiffs filed this suit on

November 18, 2022. Thus, the statute of limitations plainly bars Plaintiffs’ challenge to FDA’s

underlying approval of mifepristone, including its response to the 2002 citizen petition.

         Second, Plaintiffs cannot challenge FDA’s approval of the supplemental new drug

application for the generic version of mifepristone. Although FDA took that action in 2019,

Plaintiffs have not exhausted their administrative remedies to challenge the action. That omission

is fatal because “[exhaustion] is required … by agency rule as a prerequisite to judicial review.”



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        Plaintiffs also invoke the Comstock Act, which in some circumstances imposes criminal
restrictions on mailing abortion-inducing drugs or sending them by common carrier. See 18 U.S.C.
§§ 1461, 1462; Mot. 20-21. But Plaintiffs do not explain how they are within the zone of interests
of that criminal statute, and they could not plausibly do so.


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Darby v. Cisneros, 509 U.S. 137, 153 (1993). As Plaintiffs themselves acknowledge, Mot. 11,

FDA regulations explicitly require litigants to file “a [citizen] petition under [21 C.F.R.]

§ 10.25(a) … before any legal action is filed in a court,” 21 C.F.R. § 10.45(b). Because Plaintiffs

“filed no such citizen petition with FDA contesting the [2019 generic] approval,” their challenge

cannot proceed. Ass’n of Am. Physicians v. FDA, 358 F. App’x 179, 181 (D.C. Cir. 2009); see also

Cody Labs., Inc. v. Sebelius, 446 F. App’x 964, 969 (10th Cir. 2011) (“Courts have often dismissed

suits against the FDA for failure to utilize the citizen petition procedure.”).

           2. Review of FDA’s December 2021 Petition Response Is Limited to the Narrow
              Issues Presented in the 2019 Citizen Petition

       When FDA denies a petition to rescind an agency action, judicial review of the denial is

strictly “limited to the ‘narrow issues as defined by the denial of the petition’” and does not

otherwise reach “the agency’s original action.” NLRB Union v. FLRA, 834 F.2d 191, 196 (D.C.

Cir. 1987) (quoting Prof’l Drivers Council v. Bureau of Motor Carrier Safety, 706 F.2d 1216,

1217 n.2 (D.C. Cir. 1983)); cf. McAfee v. FDA, 36 F.4th 272, 277 (D.C. Cir. 2022); DiGiovanni v.

FAA, 249 F. App’x 842, 844 (2d Cir. 2007). This framework applies the usual rule that courts “will

not ordinarily consider arguments that a litigant could have raised before an agency but chose not

to.” Palm Valley Health Care, Inc. v. Azar, 947 F.3d 321, 327 (5th Cir. 2020); see 21 C.F.R. §

10.45(f) (providing that, in an action under the APA, FDA “shall take the position” that “views”

not raised in the administrative record “may not be considered”).

       Here, Plaintiffs’ 2019 citizen petition did not ask FDA to reconsider or revoke the approval

of mifepristone or otherwise revisit the agency’s 2000 approval decision. App. 667-93. Instead,

the petition expressly asked FDA to “restore and strengthen elements of the [mifepristone] regimen

and prescriber requirements approved in 2000,” specifically concerning the gestational limit for

use of mifepristone; requirements for administration under the supervision of a physician; the



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number of office visits; contraindication for patients without convenient access to emergency care;

adverse-event reporting; and additional studies. App. 668. The petition also asked FDA to

“[c]ontinue limiting” dispensing “to patients in clinics, medical offices, and hospitals, by or under

the supervision of a certified prescriber” on the sole ground that these measures were necessary

for patient safety. App. 681-92. Those are the specific—and the only—claims that were presented

to FDA and rejected by the agency in its December 2021 response to the petition, App. 730-31.

No other issues can be raised in a challenge to the decision. See NLRB Union, 834 F.2d at 196.

       Plaintiffs nevertheless seek to use FDA’s 2021 response to the 2019 petition as a hook for

raising issues to this Court that are wholly absent from both the 2019 petition and FDA’s 2021

response to that petition. But Plaintiffs cannot fault FDA for failing to “acknowledge or address”

issues that Plaintiffs never raised. Mot. 21. In particular, the response to the 2019 petition provided

no mechanism to review FDA’s approval of mifepristone in 2000 (Mot. 14-18), which the petition

did not ask FDA to reconsider or withdraw. Contra App. 668 (“The undersigned submit this

petition to request the Commissioner of Food and Drugs to: … retain the Mifeprex Risk Evaluation

and Mitigation Strategy (REMS), and continue limiting the dispensing of Mifeprex to patients in

clinics, medical offices, and hospitals, by or under the supervision of a certified prescriber.”). Nor

does the response provide a basis to review Plaintiffs’ arguments regarding Subpart H of FDA’s

regulations or FDA’s failure to impose limits allegedly based upon the Comstock Act, none of

which was raised in the 2019 petition. See McAfee, 36 F.4th at 277 (refusing to reach arguments

challenging FDA’s statutory authority that were not made in citizen petition); Koretoff v. Vilsack,

707 F.3d 394, 398 (D.C. Cir. 2013) (per curiam).

       Plaintiffs’ reliance on the reopening doctrine, see Mot. 11-12, does not alter the analysis.

That doctrine applies when “an agency reconsider[s] a previously decided matter,” because “if the




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agency has opened the issue up anew . . . its renewed adherence is substantively reviewable.” Nat’l

Ass’n of Reversionary Prop. Owners v. Surface Transp. Bd., 158 F.3d 135, 141 (D.C. Cir. 1998)

(“NARPO”); see also, e.g., Sierra Club v. EPA, 551 F.3d 1019, 1024-25 (D.C. Cir. 2008) (agency

revisiting a regulation); Texas v. Biden, 20 F.4th 928, 951 (5th Cir. 2021), rev’d on other grounds

sub nom. Biden v. Texas, 142 S. Ct. 2528 (2022) (agency revisiting termination of a policy). The

doctrine is not triggered merely because the agency has responded to a citizen petition; “[a]n

agency is normally obliged under the Administrative Procedure Act to issue some sort of

explanation when it denies a petition.” Nat’l Mining Ass’n v. U.S. Dep’t of Interior, 70 F.3d 1345,

1352 (D.C. Cir. 1995). “A reopening has occurred only if ‘the entire context demonstrates that the

agency has undertaken a serious, substantive reconsidering of the existing rule.’” Texas, 20 F.4th

at 952 (quoting Growth Energy v. EPA, 5 F.4th 1, 21 (D.C. Cir. 2021) (per curiam)). Further, only

agency action within the limitations period can provide the basis for reopening. See id. at 951. The

reopening doctrine does not apply here.

       In no way did the 2021 petition response reconsider the underlying approval of

mifepristone. FDA’s “statement of denial of the petition,” which merely “responded to assertions

in the petition,” is not “sufficient to trigger the reopening doctrine.” Nat’l Min. Ass’n, 70 F.3d at

1351-52. Indeed, far from requesting that the 2000 approval be revisited or withdrawn, the 2019

petition affirmatively urged FDA to “Retain the Mifeprex REMS.” App. 669.

       FDA also did not reconsider the underlying approval of mifepristone when it modified the

REMS in 2016. That decision made targeted alterations to the conditions of approval for

mifepristone. The agency never “announc[ed] an intention to reconsider” the underlying approval,

“never asked for comments” in relation to that decision, and otherwise left no doubt that the agency

intended to “continue[], rather than reopen[],” that decision. Texas, 20 F.4th at 954-55; see also




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NARPO, 158 F.3d at 144 (asking whether the agency conducted a “wholesale review” or intended

to “revisit the distinct and settled subject” of the earlier decision). Nor did FDA constructively

reopen the earlier approval. Courts have found constructive reopening where the agency made

“extensive changes” that “significantly alter[ed] the stakes of judicial review,” recognizing that

prior to such changes the agency’s decision “may not have been worth challenging” on its own.

See Sierra Club, 551 F.3d at 1025-26 (citing Kennecott Utah Copper Corp. v. U.S. Dep’t of

Interior, 88 F.3d 1191, 1227 (D.C. Cir. 1996)). But here, the 2016 changes to the conditions of

approval plainly did not alter Plaintiffs’ litigation calculus with respect to the 2000 approval of

mifepristone: Plaintiffs challenged the 2000 approval by filing a citizen petition in 2002. But they

did not seek judicial review of FDA’s denial of that petition during the limitations period.

       No other agency action supports Plaintiffs’ reopening theory. The approval of the generic

version of mifepristone in 2019 did not reopen any issues related to the approval of Mifeprex in

2000. The generic approval simply determined that the generic version of the drug is materially

the “same” as the approved version; it did not reconsider whether the approved version met the

approval requirements. 21 U.S.C. § 355(j)(2).

       Finally, to the extent Plaintiffs seek to challenge FDA’s enforcement discretion regarding

the in-person dispensing requirement, Mot. 19-20, that challenge would be foreclosed under

Heckler v. Chaney, 470 U.S. 821, 832 (1985); see 5 U.S.C. § 701(a)(2). Such a challenge would,

moreover, be moot, given FDA’s subsequent approval of supplemental new drug applications to

remove the in-person dispensing requirement. See supra p. 6 & n.3.

       C. Plaintiffs’ Claims Are Likely To Fail On The Merits

       In any event, each of Plaintiffs’ claims is likely to fail on the merits.

           1. Plaintiffs’ FDCA Challenge to FDA’s Response to the 2019 Citizen Petition
              Should Be Rejected



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       Plaintiffs’ sole timely and exhausted claim is their challenge to FDA’s 2021 response to the

2019 citizen petition as allegedly contrary to the FDCA. That claim fails because FDA’s rejection

of the arguments in the petition was reasonable and not contrary to law. Plaintiffs identify no sound

reason for the Court to second-guess FDA’s scientific judgments nor any provision of the FDCA

that supports their contentions.

       Plaintiffs’ challenge to the 2021 petition response rests on the contention that FDA relied

improperly on certain clinical trials and adverse-event reporting data. See Mot. 19-20. In reviewing

Plaintiffs’ claims, this Court’s role is to “simply ensur[e] that the agency has acted within a zone

of reasonableness.” FCC v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021). FDA is due

deference “where the parties disagree on the science” because “Congress deemed only the FDA as

the scientific expert here—not the federal courts.” Wages & White Lion Invs., L.L.C. v. FDA, 41

F.4th 427, 436 (5th Cir. 2022).

       Here, FDA’s decisions were “reasonable and reasonably explained.” Dep’t of Commerce v.

New York, 139 S. Ct. 2551, 2571 (2019). Each conclusion rested on FDA’s expert scientific

judgment with respect to the conditions of use. See App. 750-51 (“FDA’s determination as to

whether a REMS is necessary to ensure that the benefits of a drug outweigh its risks is a complex,

drug-specific inquiry, reflecting an analysis of multiple, interrelated factors and of how those

factors apply in a particular case.”). This Court should defer to FDA’s “scientific analysis of the

evidence before it.” Pharm. Mfg. Research Servs., Inc. v. FDA, 957 F.3d 254, 262 (D.C. Cir. 2020);

Texas v. EPA, 690 F.3d 670, 677 (5th Cir. 2012).

       Specifically, in affirming its 2016 conclusion that mifepristone can safely be used up to 70

days gestation, FDA’s 2021 petition response cited studies that “showed comparable efficacy” and

only “rare” serious adverse events from using mifepristone up to 70 days gestation. App. 736-38.




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Additionally, FDA determined that “the increase in failure rate with each incremental week of

gestation, as described in approved mifepristone labeling, is small,” consistent with a published

meta-analysis. App. 738. Plaintiffs cite one particular study in arguing that FDA “rel[ied] on

studies” that did not “match” the conditions of use described in mifepristone’s approved labeling,

Mot. 19, but FDA’s analysis makes clear that it relied on a multitude of studies, the vast majority

of which Plaintiffs do not challenge. See App. 736 (discussing 22 studies); see also Katzen Decl.,

Exs. 1A, at 32-38, https://perma.cc/SR23-X9LJ, and 1B, at 15-16, https://perma.cc/5KSW-Q6AF.

       Plaintiffs frame their disagreement as an argument that FDA “violated the [FDCA]” by

relying on studies that evaluated use of mifepristone in a “drug regimen that did not match” FDA’s

approved labeling. Mot. 17, 19. But Plaintiffs point to no statutory provision requiring the

conditions of use in a drug’s approved labeling to duplicate the protocol requirements used in the

studies supporting its approval. Instead, the statute instructs FDA to refuse to approve an

application (including a supplement to an approved application) if, inter alia, considering “the

information submitted . . . as part of the application” and “any other information” before the agency

regarding the drug, there is “insufficient information to determine whether such drug is safe for

use under” the proposed conditions of use, or a “lack of substantial evidence that the drug will

have the effect it purports or is represented to have” under such conditions. 21 U.S.C. § 355(d)(4),

(5). The FDCA thus requires FDA to apply its scientific expertise in determining whether a drug

has been shown to be safe and effective under particular conditions of use, and the application of

that expertise is owed substantial deference. 21 C.F.R. §§ 314.105(c), 314.125(b)(2); see Schering

Corp. v. FDA, 51 F.3d 390, 399 (3d Cir. 1995) (“[J]udgments as to what is required to ascertain

the safety and efficacy of drugs falls squarely within the ambit of the FDA’s expertise and merit

deference from us.”). As FDA has explained, “[m]any clinical trial designs are more restrictive




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(e.g., additional laboratory and clinical monitoring, stricter inclusion and exclusion criteria, more

visits) than will be necessary or recommended in post-approval clinical use; this additional level

of caution is exercised until the safety and efficacy of the product is demonstrated.” App. 589.

       Plaintiffs’ challenge to FDA’s decision that the REMS should be modified to eliminate the

in-person dispensing requirement also fails. Plaintiffs assert that certain studies had limitations

(Mot. 20), but the FDCA does not require FDA to consider only data free from limitations in

making approval and REMS modification decisions. See 21 U.S.C. §§ 355, 355-1(g). See Huawei

Techs. USA, Inc. v. FCC, 2 F.4th 421, 453 (5th Cir. 2021) (reasoning that an agency’s decision

was not arbitrary and capricious when “it acted on the imperfect data it had”). In determining that

patient safety did not require in-person dispensing in clinics, medical offices, or hospitals, FDA

reviewed a wealth of data and concluded that “mifepristone will remain safe and effective if the

in-person dispensing requirement is removed, provided all the other requirements of the REMS

are met and pharmacy certification is added.” App. 754-65. Plaintiffs also fault FDA for relying

on adverse-event reporting data (Mot. 20), but the fact that FDA stopped mandating that certified

prescribers report non-fatal adverse events to sponsors does not render unlawful the agency’s

reliance on data that were reported. 21 C.F.R. §§ 314.80, 314.81, 314.98. Plaintiffs offer no

explanation for why it was impermissible to rely on the reported data.

       In short, each of FDA’s judgments was grounded in scientific evidence, reasonably

explained, and lawful. There is no basis to remand for reconsideration of any aspect of FDA’s

petition response (which is the maximum relief that could be available for this claim).

           2. Plaintiffs’ Untimely FDCA Challenges to the 2000 Approval and 2016 Citizen
              Petition Response Should Also Be Rejected

       As explained above, Plaintiffs’ remaining challenges—to the 2000 approval of

mifepristone and FDA’s 2016 citizen petition response—are untimely. In those challenges,



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Plaintiffs assert (1) that FDA violated the FDCA because FDA did not include in the approved

conditions of use certain conditions present in the clinical studies on which it relied, and (2) that

Subpart H did not authorize FDA’s approval. Each claim is likely to fail on the merits.

               a. Plaintiffs’ Limited Safety and Efficacy Claim Is Likely To Fail

       Plaintiffs contend that FDA violated the FDCA by failing to replicate all of the protocol

requirements in the U.S. clinical trial in the ensuing conditions of approval. Mot. 17-18. This claim

fails on multiple grounds.

       Plaintiffs did not raise the claim in their 2019 citizen petition. Had they done so, their

otherwise untimely claim would be subject only to “extremely limited” review in district court.

NLRB Union, 834 F.2d at 196; see McAfee, 36 F.4th at 274 (“extremely limited and highly

deferential”). Plaintiffs cannot satisfy typical APA review, much less a heightened standard.

       As discussed above, FDA’s approval of mifepristone in 2000 rested on a comprehensive

evaluation of the scientific data, and FDA reasonably determined, in its expert judgment, that the

evidence before it demonstrated that the drug was safe and effective for abortions under the

specified conditions. See App. 518-25, 562-94. As FDA explained in its initial approval

memorandum, it reviewed three separate clinical trials involving more than 2,500 pregnant

patients, and those trials provided substantial evidence of effectiveness and showed a low rate of

serious adverse events. See App. 518; see also App. 568-75, 585 (citing studies reporting no deaths,

very few blood transfusions, and very low rates of surgical intervention). Indeed, when it reviewed

the data from the two larger trials (even before the U.S. clinical trial data were available for its

review), FDA’s Reproductive Health Drugs Advisory Committee voted unanimously (with two

abstentions) that mifepristone’s benefits outweighed its risks. App. 518.

       Plaintiffs’ only argument is that the U.S. clinical trial included “safeguards” that were not

incorporated into the conditions of use for mifepristone that FDA approved in 2000. Mot. at 18.


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But, as explained above, there is no legal basis for Plaintiffs’ contention that the approved

conditions of use of a drug must duplicate the protocol requirements for the clinical trials

supporting its approval. See supra pp. 22-23. Here, FDA thoroughly explained why the protocol

requirements in the clinical trials were unnecessary for the safe and effective use of mifepristone.

See App. 579-82; App. 521-22. In any event, Plaintiffs’ criticism of the clinical data previously

considered by FDA does not present any new evidence that works a “fundamental change in the

factual premises” of FDA’s findings. McAfee, 36 F.4th at 274. Ultimately, Plaintiffs offer no basis

for this Court to supplant FDA’s considered judgment of the scientific evidence.

               b. Plaintiffs’ Subpart H Claim Is Likely To Fail

       Plaintiffs contend that FDA erred in invoking its Subpart H regulations, 21 C.F.R.

§§ 314.500, 314.560 et seq., as part of the 2000 approval of mifepristone. Mot. 14-16. Plaintiffs

misconceive of Subpart H as the source of approval authority. E.g., Mot. 4, 14. To the contrary,

FDA’s authority to approve the marketing of new drug products stems from the FDCA; Subpart H

is a regulatory implementation of its statutory authority. In any event, Plaintiffs failed to raise a

challenge to compliance with Subpart H in the 2019 citizen petition, so they cannot pursue such a

claim here. Moreover, Plaintiffs fail to show any error of law, much less a “plain error” sufficient

to overturn FDA’s longstanding decision. McAfee, 36 F.4th at 274.

       As an initial matter, Plaintiffs’ arguments about Subpart H have been overtaken by

congressional action. In FDAAA, Congress specifically directed that drugs with elements to assure

safe use “in effect on the effective date of this Act” (like mifepristone) would be “deemed to have

in effect an approved” REMS. Pub. L. No. 110-85, § 909(b)(1). Even if this Court were now to

conclude that FDA should not have relied on Subpart H in 2000, that would not change the

incontrovertible fact that mifepristone’s restrictions were “in effect on the effective date of this

Act”, id., and thus that mifepristone was incorporated into the REMS statutory framework pursuant


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to Congress’s mandate. Indeed, Congress was well aware that FDAAA would be “deem[ing]”

mifepristone to have a REMS.10

          Moreover, in 2011, FDA approved a proposed REMS that the mifepristone application

holder was required to submit under FDAAA. Pub. L. No. 110-85, § 909(b)(3); App. 599. Plaintiffs

do not dispute that mifepristone is eligible for approval under the REMS statutory framework (see

21 U.S.C. § 355-1(a)(1) (applying the framework to drugs intended to treat “a disease or

condition”)), so any hypothetical error in the initial reliance on Subpart H would have no

continuing impact on mifepristone’s current approval under 21 U.S.C. § 355-1 and independently

under FDA’s 2011 action.

          In any event, FDA’s reliance on Subpart H was appropriate. FDA promulgated Subpart H

as an implementation of its authority, under the FDCA, to (among other things) approve new drugs

only if safe for use under the conditions prescribed, recommended, or suggested in their labeling.

Subpart H is available for new drugs that (1) “have been studied for their safety and effectiveness

in treating serious or life-threatening illnesses,” and (2) “provide meaningful therapeutic benefit

to patients over existing treatments.” 21 C.F.R. § 314.500. Both prongs were satisfied here.

          On the first prong, Plaintiffs’ contention that “[p]regnancy is not an illness,” Mot. 14,

ignores FDA’s consistent construction of its own regulation. In the final rule, FDA explained that

Subpart H was available for serious or life-threatening “conditions,” whether or not they were

understood colloquially to be “illnesses.” 57 Fed. Reg. 58,942, 58,946 (Dec. 11, 1992); see also

App. 565 (confirming that “the subpart H regulations are intended to apply to serious or life-

threatening conditions, as well as to illnesses or diseases”). FDA’s contemporaneous use of


     10
         See 153 Cong. Reg. S5759, 5765 (daily ed. May 9, 2007) (statement of Sen. Coburn)
(reflecting congressional awareness that mifepristone would be distributed under a deemed REMS
following the enactment of FDAAA); 153 Cong. Rec S5444, 5469 (daily ed. May 2, 2007)
(statement of Sen. DeMint) (same).


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“condition” in the Subpart H preamble provides “direct insight into what the rule was intended to

mean” and “what it was supposed to include.” Kisor v. Wilkie, 139 S. Ct. 2400, 2412 (2019).11

Congress subsequently ratified FDA’s understanding of its regulation by applying the REMS

statutory framework to drugs for treating a “disease or condition” through FDAAA. 21 U.S.C.

§ 355-1(a)(1).

          As to the second prong of § 314.500, Plaintiffs’ attempt to second-guess FDA’s

determination that mifepristone offers a “meaningful therapeutic benefit,” Mot. 16, is unavailing.

Plaintiffs’ assertion that abortion drugs “are not an alternative ‘therapy’ for patients unresponsive

to, or intolerant of, surgical abortion” because some patients require surgical intervention after the

medication regimen, id., is belied by the evidence before FDA. As FDA explained in denying the

2002 citizen petition, “medical abortion through the use of Mifeprex provides a meaningful

therapeutic benefit to some patients over surgical abortion,” because it “avoided an invasive

surgical procedure and anesthesia in 92 percent” of patients in the trial. App. 566. Avoidance of

surgery provides therapeutic benefits by minimizing the risk of complications from anesthesia or

sedation, including “a severe allergic reaction, a sudden drop in blood pressure with

cardiorespiratory arrest, death, and a longer recovery time” as compared to medication. Id. FDA

reasonably found these benefits to support approval—a conclusion plainly not contrary to law.

          At a minimum, FDA’s authority to approve mifepristone outside of Subpart H—whether

under FDAAA’s REMS provision or under the agency’s preexisting statutory authority, see 57 Fed.

Reg. 13234, 13237 (Apr. 15, 1992)—means that the appropriate remedy for any improper

invocation of Subpart H would be remand without vacatur. No greater relief could be warranted

because FDA would have authority to confirm that mifepristone has already been approved outside


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        Plaintiffs state that the initial sponsor of the Mifeprex NDA argued that pregnancy is not
an illness, Mot. 15, but fail to note that the sponsor agreed to approval under Subpart H. App. 523.


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of Subpart H, and vacatur would be enormously disruptive as explained below. See Cent. & S.W.

Servs., Inc. v. EPA, 220 F.3d 683, 692 (5th Cir. 2000). There is thus no basis to enjoin FDA’s

approval of mifepristone even if the Court were to accept Plaintiffs’ Subpart H argument.

           3. Plaintiffs’ Untimely and Unexhausted Claims Regarding the Comstock Act
              Fail as a Matter of Law

       Plaintiffs suggest that the Comstock Act, 18 U.S.C. §§ 1461, 1462, required FDA to

prohibit the manufacturers of mifepristone from distributing it to prescribers by mail or by

common carrier. Mot. 21. But Plaintiffs failed to present this argument at any stage of any

administrative proceeding. Thus, this argument is unexhausted and barred from review. See supra

p. 18. Plaintiffs’ Comstock argument is also untimely as to the 2000 approval of mifepristone and

the 2016 citizen petition denial. See supra pp. 16-17.

       Plaintiffs’ argument also fails on the merits. Plaintiffs provide no reason why FDA was

required to consider that Act in deciding whether and under what conditions to approve

mifepristone. That is particularly true given that the initial approval occurred in 2000, at a time

when the Comstock Act could not constitutionally have been enforced against the mailing of items

for abortions. Certainly the Comstock Act does not bear on the safety and efficacy findings at the

core of FDA’s approval decision, and nothing in the law requires FDA to incorporate into its drug

approvals purported criminal-law restrictions on modes of transporting drugs.

       More fundamentally, Plaintiffs misconstrue the Comstock Act. They contend that the

Comstock Act “expressly prohibit[s] the distribution of chemical abortion drugs by mail, express

company, or common carrier.” Mot. 20 (citing 18 U.S.C. §§ 1461, 1462). As the Department of

Justice’s Office of Legal Counsel has explained, however, since the early 20th century the

Comstock Act has been understood “not to prohibit all mailing or other conveyance of items that

can be used to prevent or terminate pregnancy.” Katzen Decl., Ex. 1C (Application of the Comstock



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Act to the Mailing of Prescription Drugs That Can Be Used for Abortions, 46 Op. O.L.C. ___, at 5

(Dec. 23, 2022)), https://perma.cc/8XHW-32JD. In particular, federal courts of appeals settled

upon a consensus view that the Comstock Act did not prohibit the mailing or other conveyance of

contraceptives or items designed to produce abortions where the sender does not intend them to be

used unlawfully. See id. at 5-11 (discussing, e.g., Davis v. United States, 62 F.2d 473, 474-75 (6th

Cir. 1933); and United States v. One Package, 86 F.2d 737, 738-40 (2d Cir. 1936); Consumers

Union of United States, Inc. v. Walker, 145 F.2d 33, 33 (D.C. Cir. 1944)); see also United States

v. H.L. Blake Co., 189 F. Supp. 930, 935 (W.D. Ark. 1960).

       Congress was well aware of this judicial interpretation, as well as the Postal Service’s

acceptance of the courts’ settled construction. See Katzen Decl., Ex. 1C, at 12-13, 15-16,

https://perma.cc/8XHW-32JD. Yet despite re-enacting or amending the Comstock Act several

times over the ensuing decades, Congress never modified the relevant statutory text to reject or

displace this settled construction. See id. at 11-15. Thus, Congress “implicitly adopted that

construction of the statute.” Forest Grove Sch. Dist. v. T.A., 557 U.S. 230, 244 n.11 (2009); see

also, e.g., Lorillard v. Pons, 434 U.S. 575, 580 (1978) (“Congress is presumed to be aware of an

administrative or judicial interpretation of a statute and to adopt that interpretation when it re-

enacts a statute without change.”). Thus even if FDA were required to consider the Comstock Act,

because the Comstock Act does not prohibit the mailing or other conveyance of abortion-inducing

drugs where the sender does not intend them to be used unlawfully, and given that these drugs may

be used lawfully, neither FDA’s decisions related to in-person dispensing nor the absence of a

prior FDA affirmative prohibition on distribution by mail was inconsistent with the Comstock Act.

       Moreover, Plaintiffs’ interpretation of the Comstock Act—as requiring FDA to

affirmatively prohibit “distribution of mifepristone by mail, express company, and common




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carrier,” Mot. 21—is foreclosed by the 2007 FDAAA provisions related to REMS. As explained

above, FDA initially approved mifepristone pursuant to Subpart H, and in doing so imposed certain

restrictions on mifepristone’s distribution. See supra p. 6; App. 514. In 2007, through FDAAA,

Congress created the REMS authority and specifically “deemed” certain Subpart H drugs to have

a REMS in effect, with the REMS containing the same distribution restrictions then in effect for

each drug. See Pub. L. No. 110-85, tit. IX, § 909(b) (codified at note following 21 U.S.C. § 331).

In enacting this legislation, Congress was well aware that it was directing mifepristone’s

preexisting distribution scheme to continue. Indeed, Senators critical of mifepristone’s approval

specifically noted that result.12 As Plaintiffs acknowledge, FDA’s preexisting restrictions “did not

include prohibitions on the upstream distribution of mifepristone . . . by mail, express company, or

common carrier.” Mot. 21; cf. App. 521-23 (discussing the distribution system). Nor did those FDA

restrictions prohibit the importation of mifepristone, cf. 18 U.S.C. § 1462, despite the

understanding of various Members of Congress that the drug was being imported. See, e.g., Staff

Report, H. Cmte. Gov’t Reform, The FDA and RU-486: Lowering the Standard for Women’s

Health (Oct. 2006), at 3.

          Plaintiffs’ argument that FDA was required to impose additional distribution restrictions in

light of the Comstock Act is therefore foreclosed by FDAAA—because, through that legislation,

Congress affirmatively endorsed mifepristone’s availability and distribution in the absence of those


     12
        See supra n.10. One Senate opponent proposed to include a provision in the bill suspending
FDA’s approval of mifepristone, which was rejected. See FDAWeek, GOP Fails to Narrow Scope
of FDA Reform Bill During Senate Mark-Up (Apr. 20, 2007) (“[Sen. Coburn] also offered an
amendment to suspend the approval of RU486 and make FDA review how it was approved. . . .
That amendment failed[.]”). The Senate version of the bill then included a different provision
targeting mifepristone—requiring the mifepristone manufacturer to submit a revised REMS on a
more accelerated schedule than other drugs—which likewise was rejected in favor of requiring
proposed REMS submissions from all drug manufacturers on the same timeline. Compare S. 1082,
110th Cong., 1st Sess., tit. II, § 214(b)(3)(B) (engrossed in Senate, May 9, 2007), with Pub. L.
No. 110-85, tit. IX, § 909(b)(3).

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restrictions.

    II. Plaintiffs Will Not Suffer Irreparable Harm Without An Injunction Against A Drug
        That Has Been On The Market For More Than Twenty Years

        Plaintiffs’ motion should be denied for the independent reason that they fail to show

irreparable harm. As explained above, supra § I.A, Plaintiffs establish no cognizable injury, let

alone irreparable harm. Yet they ask this Court for emergency relief in the form of a mandatory

injunction that would immediately withdraw approval of a safe and effective drug that has been

available in the United States for more than two decades—based on speculative allegations of

harm and Plaintiffs’ untested assertions (relying for their merits arguments on extra-record

evidence not properly before this court) that they know better than FDA whether this drug is safe.

That request is extraordinary and unprecedented. Plaintiffs have pointed to no case, and the

government has been unable to locate any example, where a court has second-guessed FDA’s

safety and efficacy determination and ordered a widely available FDA-approved drug to be

removed from the market—much less an example that includes a two-decade delay. Nor have

Plaintiffs identified any instance in which a court has entered a preliminary injunction suspending

or withdrawing approval of a widely available drug on any other ground.

        A. Plaintiffs’ Own Actions Confirm the Lack of Irreparable Harm

        Plaintiffs fail to show the imminent and irreparable harm necessary for injunctive relief.

See Chacon v. Granata, 515 F.2d 922, 925 (5th Cir. 1975). It is extremely difficult to make that

showing in a case like this, where Plaintiffs seek to upend longstanding agency action.

Mifepristone has been on the market for more than twenty years, first under restrictions imposed

as part of the initial approval and then under a REMS. Even the most recent action Plaintiffs

challenge occurred in December 2021, eleven months before Plaintiffs filed suit. “Federal courts

in Texas have long recognized” that such a “delay in seeking an injunction” indicates “that the



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alleged harm does not rise to a level that merits an injunction.” Texas v. United States, 328 F. Supp.

3d 662, 738 (S.D. Tex. 2018) (denying a preliminary injunction against Deferred Action for

Childhood Arrivals where the policy existed for six years before plaintiffs filed suit); see also, e.g.,

Leaf Trading Cards, LLC v. Upper Deck Co., No. 17-CV-3200, 2019 WL 7882552, at *2 (N.D.

Tex. Sept. 18, 2019) (“[C]ourts generally consider anywhere from a three-month delay to a six-

month delay enough to militate against issuing injunctive relief.”); Gonannies, Inc. v.

Goupair.Com, Inc., 464 F. Supp. 2d 603, 609 (N.D. Tex. 2006) (explaining that delay

“demonstrates a lack of urgency and undercuts the need for a preliminary injunction”).

        Plaintiffs’ extreme delay in filing suit undermines their substantive argument for a

preliminary injunction because it shows that they face no imminent, irreparable harm. “The

purpose of a preliminary injunction is to preserve the status quo and thus prevent irreparable harm

until the respective rights of the parties can be ascertained during a trial on the merits.” City of

Dallas v. Delta Air Lines, Inc., 847 F.3d 279, 285 (5th Cir. 2017). Plaintiffs’ dilatory approach to

challenging the agency actions at issue here by itself demonstrates that they will not suffer

irreparable harm warranting emergency relief while this case is litigated to final judgment—a

conclusion only compounded by the fact that the injunction they seek would upend, rather than

preserve, the status quo. See Cherry v. Unidentified Defendants, No. 19-cv-657, 2019 WL

7838559, at *1 (E.D. Tex. Oct. 16, 2019) (“The purpose of a preliminary injunction is not to give

a plaintiff the ultimate relief he seeks.”).

        B. Plaintiffs’ Theories of Injury Are Highly Speculative on Their Own Terms

        For the reasons explained above, see supra § I.A, Plaintiffs’ assertions of harm are too

speculative to show even standing. It follows a fortiori that they are too speculative to show

irreparable harm. Cf. Gbalazeh v. City of Dallas, 394 F. Supp. 3d 666, 672 (N.D. Tex. 2019)

(“[E]stablishing that there is a substantial threat of irreparable injury on a motion for preliminary


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injunction is a much taller task than showing injury-in-fact to survive a motion to dismiss.”).

       C. Contrary to Plaintiffs’ Claimed Harms, Serious Complications with
          Mifepristone Are Rare

       In addition, Plaintiffs’ alleged harms depend on a shared faulty premise—that mifepristone

“inflict[s] severe complications on many women and girls” and “cause[s] more complications than

even surgical abortions.” Mot. 1-2. Congress authorized FDA to evaluate the safety of new drugs

using its scientific expertise. Based on extensive scientific evidence, FDA determined more than

two decades ago that mifepristone is safe and effective for its approved use and that its benefits

outweigh its risks. See supra p. 4. FDA’s scientific determination is entitled to significant

deference. See Wages & White Lion Invs., 41 F.4th at 436 (“[W]here the parties disagree on the

science, we owe the FDA deference.”); see also Sierra Club v. EPA, 939 F.3d 649, 680 (5th Cir.

2019) (“A reviewing court must be ‘most deferential’ to the agency where, as here, its decision is

based upon its evaluation of complex scientific data within its technical expertise.”). FDA’s

conclusions are amply confirmed by the administrative record here—which is the only relevant

record for purposes of the merits in this case. Moreover, for purposes of evaluating whether

irreparable harm would result without a preliminary injunction, evidence set forth in the attached

declarations further confirms that mifepristone has been demonstrably safe and effective in

practice, when considered based on clinicians’ real-world experience prescribing the medication.

See Zite Decl. ¶ 6; Ex. 7 (McHugh Decl.) ¶ 8; Ex. 3 (Ireland Decl.) ¶ 8. Accordingly, Plaintiffs

cannot show that they will suffer irreparable injury during the pendency of this litigation (if at all).

See Holland Am. Ins. Co. v. Succession of Roy, 777 F.2d 992, 997 (5th Cir. 1985).

           1. The Agency Record Confirms Mifepristone’s Safety and Efficacy

       Plaintiffs’ claim that women’s use of mifepristone imposes greater burdens on Plaintiffs

than would be present if mifepristone were removed from the market are belied by the record.



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Based on its review of the scientific literature, FDA concluded that “[s]erious adverse events

associated with the use of mifepristone through 70 days gestational age are rare.” App. 736. More

specifically, “the rates of serious adverse events are low: transfusions are 0-0.1 percent, sepsis is

less than 0.01 percent, hospitalization related to medical abortion [i.e., medication-induced

abortion] is 0-0.7 percent, and hemorrhage is 0.1 percent.” Id.; see also App. 635-36. These

conclusions were compiled based on eleven different studies, containing data on “well over 30,000

patients.” Katzen Decl., Ex. 1A, at 50, https://perma.cc/SR23-X9LJ; see also id. at 51-59

(discussing adverse events on a study-by-study basis). FDA also concluded that mifepristone is

highly effective in terminating pregnancy without a need for surgical intervention. App. 736, 767;

see also App. 736 (discussing rates of “complete medical abortion” across 22 studies, between

“93.2 percent to 98.7 percent in the United States studies, and 92 percent to 98 percent in the non-

United States studies”); Katzen Decl., Exs. 1A, at 21-47, https://perma.cc/SR23-X9LJ & 1B (Table

of Studies for 20-687), at 1-24, https://perma.cc/5KSW-Q6AF.

       Notably, as FDA concluded, although medication and surgical abortion each have

contraindications and particular risks and benefits for certain patients, the overall safety and

efficacy rates are not significantly different. Some patients will benefit, for example, by the

avoidance of “an invasive surgical procedure and anesthesia” with medication abortion. App. 566;

see Ex. 4 (Kieltyka Decl.) ¶¶ 19-22, 30; McHugh Decl. ¶ 7; Ireland Decl. ¶ 10. But averaged across

the entire population, FDA highlighted one study “of 30,146 United States women undergoing

pregnancy termination before 64 days of gestation from November 2010 to August 2013,” which

found that “[e]fficacy of pregnancy termination was 99.6 percent and 99.8 percent for medical and

surgical abortion, respectively,” with “no difference in major adverse events.” App. 766-67.

           2. Plaintiffs’ Submitted Studies Do Not Undermine FDA’s Expert Judgments

       Rather than confront the significant evidence confirming mifepristone’s safety, Plaintiffs


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ask this Court to second-guess the agency based on five selected publications. Three are part of

the agency record, see App. 391-97, 398-40, 421-28, and, as such, were considered by FDA in

rendering the challenged decisions. App. 644, 737, 766-67. Two are from outside the record. See

App. 409-420, 429-33. None purports to conclude that mifepristone is unsafe. Indeed, three of

them expressly endorse mifepristone as a safe treatment.13

            Moreover, Plaintiffs misconstrue these studies and their relevant findings. For example,

Plaintiffs contend that Niinimaki 2009 (App. 398-408) establishes that “[t]wenty percent (20%) of

females will have an adverse event after taking chemical abortion drugs—a rate four times higher

than with surgical abortion.” Compl. ¶ 65. But that figure includes some instances of uterine

bleeding that FDA has described as “an expected and necessary part of the process” that “should

only be considered [an] adverse event[] if the amount of bleeding or pain exceeds what would be

expected for such a process.” Katzen Decl., Ex 1A, at 68-69, https://perma.cc/SR23-X9LJ; see

also        App. 766;   Katzen   Decl.,   Ex.   1E,     at   11,   https://perma.cc/K69R-33EZ   and

https://perma.cc/RZ2M-9DQH. Indeed, the authors of the cited study recognized that “[u]terine

bleeding requiring surgical evacuation probably better reflects the severity of bleeding after

termination of pregnancy,” and clarified that the rate of that complication “was relatively low[.]”

App. 403-04.

            Plaintiffs also place undue significance on Mentula 2011 (App. 391-97) when they cite a

complication rate for women who take mifepristone during the second trimester. See Compl. ¶ 64.

Given that FDA approved mifepristone only for an intended use through 10 weeks, that study is

largely irrelevant (and the data were “relatively old”), as FDA explained. See App. 737. A similar

problem exists with Plaintiffs’ reliance on Niinimaki 2011 (App. 421-28), see Compl. ¶ 64, which


       13
      E.g., App. 407 (“[T]ermination of pregnancy by means of either medical or surgical
methods is associated with a low level of serious complications.”); see also App. 392-97, 422.


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included women taking mifepristone up to 20 weeks’ gestation—double the time period approved

by FDA—and which likewise inflated the complication rate, as the authors acknowledged. See

App. 425 (“Advanced duration of gestation was strongly related to the risk of incomplete abortion

and    surgical     evacuation.”);   see   also   App. 644;   Katzen   Decl.,   Ex.   1A,   at 74-75,

https://perma.cc/SR23-X9LJ. In short, FDA independently reviewed all three studies; its

determination that the studies comport with FDA’s conclusions must be afforded deference. See

Wages & White Lion Invs., 41 F.4th at 436.

           As for Plaintiffs’ extra-record studies—which cannot be considered in connection with the

merits of Plaintiffs’ underlying claims—Plaintiffs once again mischaracterize their relevance. In

particular, Plaintiffs rely on Studnicki 2021 (App. 409-20) to assert that “chemical abortions are

over fifty percent (50%) more likely than surgical abortions to result in an emergency department

visit within thirty days,” Mot. 16. The mifepristone Medication Guide informs patients that

cramping and bleeding are an expected part of ending a pregnancy.14 There are many reasons why

patients may seek ER care. See, e.g., App. 172. But serious adverse events are rare, and an ER visit

does not mean there has been an adverse event, let alone a serious adverse event. In any event,

Plaintiffs’ comparison of the relative likelihood of ER visits obscures the fact that Studnicki 2021

reported data showing the rate of emergency room visits is within the range reported in the FDA

approved labeling (2.9%-4.6%),15 which is low for both medication and surgical abortion: 3.6%

for medication abortion, and 1.3% for surgical abortion.16 Accord Zite Decl. ¶¶ 8-10, 12-14

(describing, based on experience, low rate of hospital visits due to “adverse events related to

mifepristone following FDA’s revision of the REMS”); Ireland Decl. ¶ 8. In short, this publication


      14
        See Katzen Decl., Ex. 1D, at 16, https://perma.cc/2UJ5-8WVF.
      15
        See id. at 8.
     16
        See App. 413 (medication abortion: 2,201 abortion-related visits/61,076 total abortions
performed; surgical abortion: 4,660/361,924).


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does not undermine FDA’s scientific determination that mifepristone for the medical termination

of intrauterine pregnancy through 70 days gestation is safe for its intended use.

       The Studnicki 2021 publication is even less relevant when considered in light of Plaintiffs’

second extra-record study, App. 430-33 (Studnicki 2022). Although the Studnicki 2021

publication calculated that medication abortion was more likely than surgical abortion to lead to

an emergency room visit, the Studnicki 2022 publication found that the likelihood of being

admitted to the hospital was higher for surgical abortion (although the overall hospital admission

rate for both procedures was quite low). See App. 431 (“Women experiencing chemical abortion

and a subsequent emergency room (ER) visit within 30 days were less likely . . . to be hospitalized

for any reason in that same time period than women who had experienced surgical abortion.”). The

Studnicki 2022 publication confirms that it is, at best, exceedingly unlikely that removing

mifepristone from the market (as Plaintiffs request) would meaningfully decrease the burdens on

the medical system, let alone on Plaintiffs in particular. See also Lindo Decl. ¶¶ 48 (explaining

that individuals would seek surgical abortions); id. ¶¶ 49-50 (explaining that removing

mifepristone from the market would increase burdens on the medical system as a whole, including

with respect to patients seeking healthcare other than abortion); Zite Decl. ¶¶ 11, 15.

       In short, none of Plaintiffs’ publications undermines FDA’s scientific determinations

regarding the safety and efficacy of mifepristone. These determinations are entitled to “significant

deference,” and there is no basis “to compel the FDA to alter the regime for medical abortion”

based on Plaintiffs’ speculative assertions of harm that contradict the agency’s findings. Am. Coll.

of Obstetricians and Gynecologists, 141 S. Ct. at 578-79 (Roberts, C.J., concurring). Because

serious complications with mifepristone are rare, see, e.g., Zite Decl. ¶¶ 8-10, 12-14, Plaintiffs

cannot show—despite the drug’s two decades on the market—that they face an influx of patients




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who (a) experience complications from mifepristone, (b) seek treatment from Plaintiffs, and (c)

would not have experienced complications from surgical abortion or childbirth. And without

showing such a comparatively larger influx, Plaintiffs cannot show that their practices will be

meaningfully affected—or irreparably harmed.

   III. A Preliminary Injunction Would Harm The Public Interest And Third Parties

       The public interest would be dramatically harmed by effectively withdrawing from the

marketplace a safe and effective drug that has lawfully been on the market for twenty-two years.

FDA’s determination that mifepristone provides a “meaningful therapeutic benefit to patients”

over existing treatments, App. 523, 565-66, has been confirmed through decades of experience of

thousands of women who, in consultation with their doctors, have determined that mifepristone is

the safest and best option for them when compared to surgical abortion or childbirth. See Lindo

Decl. ¶¶ 30-45; Kieltyka Decl. ¶¶ 18-34; McHugh Decl. ¶ 6; Ireland Decl. ¶¶ 10-13. The public

interest is “paramount” where, as here, “an injunction would deprive the public of an important

medical benefit.” Pharmacia Corp. v. Alcon Labs., Inc., 201 F. Supp. 2d 335, 385 (D.N.J. 2002).

Indeed, under these circumstances, relief may be denied on public interest grounds even if a court

decides other factors may weigh in Plaintiffs’ favor. Id. (citing cases).

       Removing access to mifepristone would cause worse health outcomes for patients who rely

on the availability of mifepristone to safely and effectively terminate their pregnancies. See

Kieltyka Decl. ¶¶ 19-22; Lindo Decl. ¶ 45; Ex. 6 (Glaser Decl.) ¶ 13. Many patients will likely

seek legal access to abortion regardless of any injunction issued in this case—but an injunction

would force them to do so through an invasive medical procedure that increases health risks for

some patients and that may be otherwise inaccessible to others. See Lindo Decl. ¶¶ 47-72

(describing increase in wait times for surgical abortion that would result absent mifepristone, and

the far-reaching impacts of such increased wait times on patients, their families, and healthcare


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providers); see also Kieltyka Decl. ¶¶ 36-45 (explaining that unavailability of mifepristone would

force Maine Family Planning to eliminate abortion services at 17 of its 18 clinics across the state

of Maine, many in rural areas that lack alternative options); Ireland Decl. ¶ 14; McHugh Decl.

¶ 15. Indeed, as individual providers have explained, a substantial proportion of patients choose

medication abortion for a variety of reasons including medical necessity, privacy, and avoiding

further trauma, and its sudden absence would be expected to impose real and significant harms on

such patients. See, e.g., Kieltkya Decl. ¶¶ 19-31, 40-45; McHugh Decl. ¶ 15; Ireland Decl. ¶¶ 10-

14. The effects of a preliminary injunction would be particularly acute for patients for whom

mifepristone is the medically indicated treatment because of the patient’s pre-existing health

condition. For example, surgical abortion involves anesthesia, but people who are allergic to

anesthesia can experience “a sudden drop in blood pressure with cardiorespiratory arrest, [and]

death.” App. 566; see also App. 521, 523; Kieltyka Decl. ¶ 20. And as Dr. Ireland explained,

patient populations for whom medication abortion is more appropriate than a surgical abortion

“include[] patients who are survivors of abuse, including rape and incest, for whom pelvic exams

can recreate severe trauma,” “[a]dolescent patients, who have not yet had a pelvic exam,” and

“patients in the intensive care unit or trauma patients who have difficulty with the positioning

required for suction D&C.” Ireland Decl. ¶ 7; see also Kieltyka Decl. ¶ 30; McHugh Decl. ¶¶ 10-

14; Glaser Decl. ¶ 11. Notwithstanding these serious implications, the requested relief would

deprive patients and their doctors of the opportunity “to decide whether a medical or surgical

abortion is preferable and safer in [the patient’s] particular situation.” App. 566.

       A preliminary injunction also would undermine the capacity of state healthcare systems.

Taking away patients’ option of medication abortion would lead to overcrowding and delays at

clinics that provide surgical abortion, including not only dedicated abortion clinics but also general




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practitioners. See Lindo Decl. ¶¶ 48-50. This would lead to delays for an array of healthcare

services as providers and resources are unnecessarily diverted to surgical abortions. Id. Even a

preliminary injunction with a more limited scope than withdrawal of mifepristone would unduly

burden the public and healthcare systems, where FDA, in its scientific judgment, has determined

that mifepristone is safe and effective for its intended uses and the benefits outweigh the risks.

       Moreover, a preliminary injunction would interfere with the reliance interests of businesses

involved in the sale and distribution of mifepristone. These businesses have relied on FDA’s

approval of mifepristone for the past twenty-two years to invest in the infrastructure to support

these pharmaceutical products. These businesses, in turn, have employees whose jobs depend on

the continued availability of mifepristone. More generally, if longstanding FDA drug approvals

were so easily enjoined, even decades after being issued, pharmaceutical companies would be

unable to confidently rely on FDA approval decisions to develop the pharmaceutical-drug

infrastructure that Americans depend on to treat a variety of health conditions.

       Finally, a preliminary injunction would interfere with Congress’s decision to entrust FDA

with responsibility to ensure the safety and efficacy of drugs. In discharging this role, FDA applies

its technical expertise to make complex scientific determinations about drugs’ safety and efficacy,

and these determinations are entitled to substantial deference. See Sierra Club, 939 F.3d at 680.

Allowing Plaintiffs to supplant FDA’s considered judgment with cursory and baseless allegations

of harm would undermine the administrative framework that Congress designed for the regulation

of pharmaceutical drugs.

                                           CONCLUSION

       Plaintiffs’ Motion for a Preliminary Injunction should be denied.




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    January 13, 2023                     Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

     I hereby certify that this document, filed by email according to the Court’s Emergency

Procedures for the U.S. District Court for the Northern District of Texas, will be sent via

electronic mail to all counsel of record.



     January 13, 2023                                 /s/ Noah T. Katzen
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